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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                          Case No. 1:19-CV-24706-DLG
  Lindsay Rafferty
        Plaintiff,


  v.


  Denny’s Inc., a Florida Corporation,
        Defendant.
  ________________________________________/
                                         ORDER

        THIS CAUSE comes before the Court upon the Parties’ Joint

  Motion for Settlement Approval (ECF No. 100) and Plaintiff’s Motion

  for Attorney’s Fees and Costs (ECF No. 101).

        THE COURT has reviewed the Motions, the pertinent portions of

  the record, and is otherwise fully advised in the premises.

        This    case   involves      claims       for   minimum   wage    and/or   unpaid

  overtime wages pursuant to the Fair Labor Standards Act ("FLSA"), 29

  U.S.C. §§ 201-219, and the Parties have informed the Court that they

  have reached a compromise of their claims.               The Court is now required

  to   review   the    Parties'      agreement      (hereinafter,       "the   Settlement

  Agreement") [D.E. 23-1].        Lynn Food Stores v. United States, 679 F.2d

  1350, 1352-53 (11th Cir. 1982).            In reviewing a settlement of an FLSA

  private   claim,     the   Court    must    "scrutiniz[e]       the    settlement   for

  fairness," and determine whether the settlement is a "fair and

  reasonable resolution of a bona fide dispute over FLSA provisions."


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  Id. at 1353.     A settlement entered into in an adversarial context

  where both sides are represented by counsel throughout the litigation

  "is more likely to reflect a reasonable compromise of disputed

  issues."   Id. at 1354.   The Court may approve the settlement in order

  to promote the policy of encouraging settlement of litigation.              Id.

        In this case, there is a bona fide dispute over FLSA provisions,

  as evidenced by the claims alleged in the Complaint (ECF No. 1).            The

  Court finds that the compromise reached by the Parties under the

  Settlement Agreement is a fair and reasonable resolution of the

  Parties' bona fide dispute. Accordingly, it is hereby

     ORDERED    AND   AJUDGED   that   the      Parties’   Joint   Motion     for

  Settlement Approval (ECF No. 100) is GRANTED. It is further

        ORDERED    AND   AJUDGED   that       the   above-captioned   cause    is

  referred to United States Magistrate Judge Chris M. McAliley, to

  take all necessary and proper action in this case as required by

  law regarding the Plaintiff’s Motion for Attorney’s Fees and Costs

  (ECF No. 101), pursuant to 28 U.S.C. § 636 and the Magistrate Rules

  of the Local Rules of the Southern District of Florida.

        DONE AND ORDERED in chambers at Miami, Florida, this 15th day

  of December, 2021.

                                               s/ Donald L. Graham____
                                               DONALD L. GRAHAM
                                               UNITED STATES DISTRICT JUDGE
  cc:   All Counsel of Record




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